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 7 Attorneys for Plaintiff TRUSTLABS, INC.

 8

 9                               UNITED STATES DISTRICT COURT

10                            NORTHERN DISTRICT OF CALIFORNIA

11

12 TRUSTLABS, INC, a Delaware                 Case No. 1:21-cv-02606-RMI
   Corporation,
13
                    Plaintiff,                PLAINTIFF TRUSTLABS, INC’S FED. R. CIV. P.
14                                            7.1 CORPORATE DISCLOSURE STATEMENT
                    v.                        AND CIV. L.R. 3-15 CERTIFICATION OF
15
                                              INTERESTED ENTITIES OR PERSONS
16 DANIEL JAIYONG AN,

17                     Defendant.

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     CORPORATE DISCLOSURE STATEMENT AND CERTIFICATION OF INTERESTED ENTITIES OR PERSONS
                                                                  Case No. 1:21-cv-02606-RMI
               Case 3:21-cv-02606-CRB Document 6 Filed 04/14/21 Page 2 of 2



 1                  CORPORATE DISCLOSURE STATEMENT AND CERTIFICATION

 2                                OF INTERESTED ENTITIES OR PERSONS

 3                                     (Fed. R. Civ. P. 7.1 and Civ. L.R. 3-15)

 4          Plaintiff TrustLabs, Inc. submits the following statement of its corporate interests pursuant to Rule

 5 7.1 of the Federal Rules of Civil Procedure: TrustLabs does not have a parent corporation; no publicly held

 6 corporation owns ten percent or more of TrustLabs’ stock.

 7          Pursuant to Civil L.R. 3-15, the undersigned certifies that as of this date, other than the named

 8 parties, there is no such interest to report.

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11 Dated: April 14, 2021                                  SV EMPLOYMENT LAW FIRM PC

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                                                          By: _/s/ Galen Sallomi________________________
13                                                                        Steven L. Friedlander
                                                                            Galen P. Sallomi
14                                                                            Carl J. Kaplan
15                                                        Attorneys for Plaintiff TRUSTLABS, INC.

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     CORPORATE DISCLOSURE STATEMENT AND CERTIFICATION OF INTERESTED ENTITIES OR PERSONS
                                                                  Case No. 1:21-cv-02606-RMI
